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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DELORES COLEMAN,
             Plaintiff,

       v.                                         CIVIL ACTION NO. 18-0549

PROGRESSIVE ADVANCED
INSURANCE COMPANY,
              Defendant.

                                          ORDER

       AND NOW, this 5th day of March 2018, upon consideration of the parties' stipulation to

remand the case [Doc. No. 4], hereby ORDERED that the Clerk of Court is DIRECTED to

remand the case to the Court of Common Pleas of Philadelphia County, Pennsylvania forthwith.

It is further ORDERED that Clerk of Court shall CLOSE the case in this Court.

       It is so ORDERED.

                                           BY THE COURT:


                                                       ~~!CJ
                                                          v '21·
                                            YNTHIA M. RUFE, J.
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